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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                          CIVIL ACTION NO. 12-859

VERSUS                                                         SECTION I, DIVISION 1

MARLIN GUSMAN, ET AL.                                          JUDGE LANCE M. AFRICK
                                                               MAGISTRATE JUDGE NORTH

                                        STATUS REPORT

       The City of New Orleans (the “City), hereby submits a Status Report on the progress of

the Temporary Detention Center (“TDC”) renovation and Phase III facility, in response to the

Court’s Order of March 18, 2019, (R.Doc. 1227).

       As scheduled, bids for the TDC renovation project were received on Thursday, May 30,

2019. The lowest qualified bidder was Blanchard Mechanical Contractor (“BMC”). On June 6,

2019, the City issued an Intent to Award letter to BMC. On June 12, 2019, a preliminary team

meeting was held with BMC to discuss and review the Front-end Specification and City

Requirements. The projected construction notice to proceed (“NTP”) date is Monday, July 1,

2019. The projected construction completion date for TDC is Friday, March 13, 2020.

       A sub-committee was established in May 2019, comprised of members from the City,

OPSO, Wellpath (OPSO’s Medical Services Provider), mental-medical specialist from Tulane

University (consultant to Wellpath), the Federal Monitor, DOJ and Plaintiffs’ representatives, to

continue the program phase discussion for Phase III.

       Members of the Executive Group (Wellpath, Grace/Hebert Architects (“GHA”), and Hill

International, Inc. (”Hill”)) met on May 23, 2019, to further review and collaborate regarding

efficiencies in the use of the Phase II and Phase III space.
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        The updated target date for completion of the program phase for Phase III is mid-June

2019.   Consequently programming recommendations, which may be subject to necessary

adjustments, will be presented to the Executive Group on June 19th, and if accepted, the team will

sign off and move forward to the schematic design phase of Phase III. The current projected

completion of the design phase is June, 2020. The current projected start of construction is

October, 2020 and the projected completion date for Phase III is June, 2022.

                                             Respectfully submitted,




                                             _/s/ Donesia D. Turner_____________
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